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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 JOHN KELLEY et al.,                           §
                                               §
        Plaintiffs,                            §
                                               §
 v.                                            § Civil Action No. 4:20-cv-00283-O
                                               §
 XAVIER BECERRA et al.,                        §
                                               §
        Defendants.                            §

                                           ORDER

       Before the Court is Plaintiffs’ Motion for Extension of Time for Plaintiffs to File Reply

Brief in Support of Motion for Summary Judgment (ECF No. 72), filed March 13, 2022. The Court

GRANTS the motion and ORDERS that Plaintiffs shall file their combined reply brief in support

of their motion for summary judgment (ECF No. 44), and their response to the defendants’ cross-

motion for summary judgment (ECF No. 62) no later than Monday, March 28, 2022. Defendants

shall file their reply brief in support of their cross-motion for summary judgment no later than

April 18, 2022.

       SO ORDERED on this 14th day of March, 2022.




                                                  _____________________________________
                                                  Reed O’Connor
                                                  UNITED STATES DISTRICT JUDGE
